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 PEARSON, J.

                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


 UNITED STATES OF AMERICA,                        )
                                                  )     CASE NO. 1:15-CR-335-5
                Plaintiff,                        )
                                                  )
                v.                                )     JUDGE BENITA Y. PEARSON
                                                  )
 JUSTIN ESPOSITO,                                 )
                                                  )
                Defendant.                        )     ORDER



        This matter is before the Court upon Magistrate Judge Kathleen B. Burke’s Report and

 Recommendation (“R&R”) that the Court accept Defendant Justin Esposito’s (“Defendant”)

 plea of guilty and enter a finding of guilty against Defendant. ECF No. 70.

        On September 9, 2015, the Government filed an Indictment against Defendant alleging

 violations of 18 U.S.C. § 1349, 18 U.S.C. § 1348 and 18 U.S.C. § 1343, conspiracy to commit

 securities and wire fraud, securities fraud, and wire fraud. ECF No. 3. Thereafter, Defendant

 notified the Court of Defendant’s intent to enter a plea of guilty. ECF No. 64. The Court issued

 an order referring the matter to Magistrate Judge Burke for the purpose of receiving Defendant’s

 guilty plea. ECF No. 65.

        On January 6, 2016, Magistrate Judge Burke held a hearing during which Defendant

 consented to the order of referral (ECF No. 69) and entered a plea of guilty as to Count 1 of the

 Indictment. Magistrate Judge Burke received Defendant’s guilty plea and issued a Report

 recommending that this Court accept Defendant Justin Esposito’s plea and enter a finding of
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 guilty. ECF No. 70.

         The time limitation to file objections to the Magistrate Judge’s Report and

 Recommendation has expired and neither party has filed objections or requested an extension of

 time.

         Fed. R. Crim. P. 11(b) states:

         Before the court accepts a plea of guilty or nolo contendere, the defendant may be
         placed under oath, and the court must address the defendant personally in open
         court. During this address, the court must inform the defendant of, and determine
         that the defendant understands, the following: (A) the government’s right, in a
         prosecution for perjury or false statement, to use against the defendant any
         statement that the defendant gives under oath; (B) the right to plead not guilty, or
         having already so pleaded, to persist in that plea; (C) the right to a jury trial; (D)
         the right to be represented by counsel—and if necessary have the court appoint
         counsel—at trial and at every other stage of the proceeding; (E) the right at trial to
         confront and cross-examine adverse witnesses, to be protected from compelled
         self-incrimination, to testify and present evidence, and to compel the attendance of
         witnesses; (F) the defendant’s waiver of these trial rights if the court accepts a
         plea of guilty or nolo contendere; (G) the nature of each charge to which the
         defendant is pleading; (H) any maximum possible penalty, including
         imprisonment, fine, and term of supervised release; (I) any mandatory minimum
         penalty; (J) any applicable forfeiture; (K) the court’s authority to order restitution;
         (L) the court’s obligation to impose a special assessment; (M) in determining a
         sentence, the court’s obligation to calculate the applicable sentencing-guideline
         range and to consider that range, possible departures under the Sentencing
         Guidelines, and other sentencing factors under 18 U.S.C. §3553(a); and (N) the
         terms of any plea-agreement provision waiving the right to appeal or to
         collaterally attack the sentence.

         The undersigned has reviewed the transcript and the Magistrate Judge’s R&R and finds,

 that in her careful and thorough proceeding, Magistrate Judge Burke satisfied the requirements of

 Fed. R. Crim. P. 11 and the United States Constitution. Defendant was placed under oath and

 determined to be competent to enter a plea of guilty. Defendant was made aware of the charges

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 and consequences of conviction and his rights and waiver thereof. Magistrate Judge Burke also

 correctly determined that Defendant had consented to proceed before the magistrate judge and

 tendered his plea of guilty knowingly, intelligently and voluntarily. Furthermore, the magistrate

 judge also correctly found that there was an adequate factual basis for the plea.

        Upon de novo review of the record, the Report and Recommendation is adopted.

 Therefore, Defendant Justin Esposito is adjudged guilty of Count 1of the Indictment, conspiracy

 to commit securities and wire fraud, securities fraud, and wire fraud, in violation of 18 U.S.C. §

 1349, 18 U.S.C. § 1348 and 18 U.S.C. § 1343, respectively.



        IT IS SO ORDERED.


     February 1, 2016                          s/ Benita Y. Pearson
 Date                                          Benita Y. Pearson
                                               United States District Judge




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